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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
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5
     Attorney for Defendant
6    SAMNEUK BUNMA
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             NO. 1:06-cr-00313 LJO
                                           )
12                     Plaintiff,          )             STIPULATION TO EXTEND SURRENDER
                                           )             DATE; ORDER THEREON
13         v.                              )
                                           )
14   SAMNEUK BUNMA,                        )
                                           )
15                     Defendant.          )
                                           )
16   _____________________________________ )
17          IT IS HEREBY STIPULATED by and between the parties hereto, through their respective
18   counsel of record herein, that the surrender date of Mr. Samneuk Bunma may be extended from July 6,
19   2010 to July 27, 2010 before 2:00 p.m.
20          At sentencing, the court recommended that Mr. Bunma be designated to a California facility,
21   subject to security classification and space availability. The court further ordered that Mr. Bunma
22   surrender on July 6, 2010. Unfortunately for Mr. Bunma, due to overcrowding at appropriate California
23   institutions, the Bureau of Prisons designated him to a facility in Ohio, more than 2,500 miles away from
24   Bunma’s home in Fresno. Defense counsel wrote to BOP on June 8, 2010, describing Mr Bunma’s
25   circumstances and asking whether it was possible that Mr. Bunma be designated to an institution closer to
26   Cailfornia. On June 24, 2010 the defense was advised that no change in designation was possible.
27          Mr. Bunma delayed purchasing his airline ticket to Ohio in hopes that he would be designated to a
28   closer facility. Unfortunately, no low cost airfares are now available for Akron, Ohio, the nearest airport,
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1    to the designated facility. The defense is requesting an extension of Mr. Bunma’s self-surrender date to
2    July 27, 2010, to allow for purchase of a less expensive airline ticket. The government does not object to
3    this request.
4
5             DATED: June 28, 2010                                         BENJAMIN B. WAGNER
                                                                           United States Attorney
6
7                                                                       By /s/ Kathleen A. Servatius
                                                                          KATHLEEN A. SERVATIUS
8                                                                         Assistant U.S. Attorney
                                                                          Attorney for Plaintiff
9
10
11            DATED: June 28, 2010                                         DANIEL J. BRODERICK
                                                                           Federal Defender
12
13                                                                     By /s/ Eric V. Kersten
                                                                          ERIC V. KERSTEN
14                                                                        Assistant Federal Defender
                                                                          Attorney for Defendant
15                                                                        Samneuk Bunma
16
17                                                    ORDER
18            The defendant shall surrender for service of his sentence at the institution designated by the United
19   States Bureau of Prisons before 2:00 p.m. on July 27, 2010.
20            IT IS SO ORDERED.
21   Dated:      June 29, 2010                         /s/ Lawrence J. O'Neill
     b9ed48                                        UNITED STATES DISTRICT JUDGE
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     Bunma - Stipulation Extending
     Surrender Date and Proposed Order                      2
